 8:07-cr-00386-JFB-TDT            Doc # 48   Filed: 06/03/08   Page 1 of 1 - Page ID # 156




                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                     )
                                              )
                     Plaintiff,               )                  8:07CR386
                                              )
              v.                              )
                                              )
SALVADOR CATALAN-CASIANO,                     )                    ORDER
OBED MARTINEZ-LOPEZ,                          )
                                              )
                     Defendants.              )
                                              )


       This matter is before the court on defendant Obed Martinez-Lopez’s motion to
dismiss, Filing No. 47, on the basis of speedy trial. The court has reviewed the record and
finds there are no grounds for a speedy trial motion. Accordingly, the motion will be
denied.
       THEREFORE, IT IS ORDERED that defendant Obed Martinez-Lopez’s motion to
dismiss, Filing No. 47, is denied.
       DATED this 3rd day of June, 2008.

                                             BY THE COURT:



                                             s/ Joseph F. Bataillon
                                             Chief United States District Judge
